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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
    SUNNOVA ENERGY INTERNATIONAL INC.,                              )     Case No. 25-90160 (ARP)
    et al.,1                                                        )
                                                                    )
                             Debtors.                               )     (Jointly Administered)
                                                                    )

    SUPPLEMENTAL DECLARATION OF RYAN OMOHUNDRO IN FURTHER
 SUPPORT OF (A) THE DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN
   ORDER (I) AUTHORIZING AND APPROVING THE PRIVATE SALE OF THE
      ELIGIBLE SYSTEMS ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
ENCUMBRANCES, AND OTHER INTERESTS, (II) APPROVING THE ASSUMPTION
 AND ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES;
  (III) APPROVING THE ASPA SETTLEMENT AND (IV) GRANTING RELATED
 RELIEF, AND (B) THE DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN
ORDER (I) AUTHORIZING AND APPROVING THE PRIVATE SALE OF THE NEW
         HOMES SOLAR ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
ENCUMBRANCES, AND OTHER INTERESTS, (II) APPROVING THE ASSUMPTION
 AND ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES,
                  AND (III) GRANTING RELATED RELIEF

             I, Ryan Omohundro, hereby declare under penalty of perjury as follows:2


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://restructuring.ra.kroll.com/Sunnova. The location of Debtor Sunnova
      Energy International Inc.’s corporate headquarters and the Debtors’ service address in these chapter 11 cases is
      20 East Greenway Plaza, Suite 540, Houston, Texas 77046.
2     Capitalized terms used but not otherwise defined in this Declaration shall have the meanings ascribed to them in
      the Motion, the Order, the Declaration of Paul Mathews, President and Chief Executive Officer of Sunnova
      Energy International Inc., in Support of Debtors’ Chapter 11 Petitions (the “Mathews First Day Declaration”),
      the Declaration of Ryan Omohundro, Chief Restructuring Officer of Sunnova Energy International Inc., in
      Support of Debtors’ First Day Motions (the “Omohundro First Day Declaration”), the Declaration of Ryan
      Omohundro, Chief Restructuring Officer of Sunnova Energy International Inc., in Support of the Debtors’
      Emergency Motion for Entry of an Order (I) Authorizing and Approving the Private Sale of the Eligible Systems
      Assets Free and Clear of Liens, Claims, Encumbrances, and Other Interests, (II) Approving the Assumption and
      Assignment of Executory Contracts and Unexpired Leases; (III) Approving the ASPA Settlement, and (IV)
      Granting Related Relief (the “Omohundro TEPH Sale Declaration”), and the Declaration of Ryan Omohundro,
      Chief Restructuring Officer of Sunnova Energy International Inc., in Support of the Debtors’ Emergency Motion
      for Entry of an Order (I) Authorizing and Approving the Private Sale of the New Homes Systems Assets Free and
      Clear of Liens, Claims, Encumbrances, and Other Interests, (II) Approving the Assumption and Assignment of
      Executory Contracts and Unexpired Leases; and (III) Granting Related Relief (the “New Homes Asset Sale
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       1.      I am the Chief Restructuring Officer (“CRO”) of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”). Prior to being appointed CRO on April 27,

2025, I advised the Debtors in my capacity as Managing Director of Alvarez & Marsal North

America, LLC (“A&M”), the proposed financial advisor to the Debtors in the above-captioned

chapter 11 cases. I have been directly involved in and obtained firsthand knowledge of the events

and circumstances leading to these chapter 11 cases.

       2.      I submit this declaration (this “Declaration”) in further support of the following

motions:

       (a)     the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing and
               Approving the Private Sale of the Eligible Systems Assets Free and Clear of Liens,
               Claims, Encumbrances, and Other Interests, (II) Approving the Assumption and
               Assignment of Executory Contracts and Unexpired Leases, (III) Approving the
               ASPA Settlement, and (IV) Granting Related Relief (the “Warehouse Asset Sale
               Motion”); and

       (b)     the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing and
               Approving the Private Sale of the New Homes Solar Assets Free and Clear of Liens,
               Claims, Encumbrances, and Other Interests, (II) Approving the Assumption and
               Assignment of Executory Contracts and Unexpired Leases, and (III) Granting
               Related Relief (the “New Home Inventory Sale Motion,” and together with the
               Warehouse Asset Sale Motion, the “Sale Motions”).

       3.      The statements in this Declaration are, except where otherwise noted, based on

(a) my personal knowledge, (b) information I have obtained from other members of the Debtors’

management team, employees, advisors, and/or employees of A&M, (c) my review of relevant

documents and information concerning the Debtors’ operations, financial affairs, and restructuring

initiatives, and (d) my experience and knowledge as the Debtors’ CRO and as a principal of A&M

advising distressed companies for over twenty years. I am over the age of eighteen, and I am



   Declaration,” and together with the TEPH Sale Declaration, the “Prior Sale Declarations”), as applicable.
   The “Company” means, collectively, Sunnova Energy International Inc. and its Debtor and non-Debtor
   subsidiaries and affiliates.



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authorized to submit this Declaration on behalf of the Debtors. If called upon to testify, I could

and would testify competently to the facts set forth herein.

                       The Debtors’ Need for Cash to Fund Operations
                      and the Administration of These Chapter 11 Cases

       4.      During the hearing held on June 9, 2025, the Court posed questions regarding the

timeframe for the Debtors’ ability to operate based on the Budget attached to my first declaration.

The answer to those questions is that, without additional cash, the Debtors will run out of funds

necessary to operate their businesses and administer these cases by, at the latest, early next week.

       5.      Since they were first engaged by the Debtors in March 2025, A&M has helped to

manage the Company’s liquidity, identify strategic alternatives to enhance liquidity and

profitability, assist with the development of a business plan, and manage the Debtors’ contingency

planning efforts. In connection with the Sale Motions, with the assistance of A&M and their other

advisors, the Debtors reviewed and analyzed their projected cash receipts and disbursements and

prepared a forecast outlining the Debtors’ projected postpetition receipts, disbursements, and cash

flow through the business day prior to the contemplated second day hearing scheduled for June 30,

2025, a copy of which is attached as Exhibit A (the “Forecast”). I believe the Forecast is true and

correct, and that it reflects the Debtors’ best estimate of the receipts and disbursements the Debtors

will realize over the first three weeks of these cases.

       6.      As set forth in the Forecast, the Debtors commenced these chapter 11 cases with

approximately $13.5 million in cash on hand (or $11.5 million after accounting for the Debtors’

“float” relating to outstanding checks written against their bank accounts). When combined with

the cash flow generated by the Debtors in the ordinary course of business, that amount is

insufficient to cover the Debtors’ working capital needs and the projected administrative costs of

these chapter 11 cases. In fact, without additional cash or significant disruption to the Debtors’



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business operations and administration of the estates, the Debtors will run out of funds by as early

as the end of this week or, at the latest, the beginning of next week. For the avoidance of doubt, I

do not mean that the Debtors will fall below a minimum liquidity threshold. Rather, to be very

clear, without the relief sought through the Motions, the Debtors will have zero cash in their

bank accounts by this time next week.

       7.      To demonstrate this, I have included in the Forecast a separate scenario that reflects

the cash shortfalls that would result if the Debtors do not receive the relief they seek in the Sale

Motions. As set forth therein, the Debtors expect to incur a total of approximately $12 million in

operating and administrative expenses (including employee payroll) between the Petition Date and

this Friday, June 13, with approximately $800,000 in receipts, for a net cash outflow of

approximately $11 million—leaving the Debtors with less than $500,000 in their bank accounts

as of the end of this week. By the end of next week, the Debtors would have a cash shortfall of

approximately $4 million. Without additional cash, that shortfall would grow to more than

$25 million by the end of the Debtors’ third week in bankruptcy:




       8.      The Debtors believe they can meet their immediate cash needs through two

interrelated proposed transactions that are the subject of the Sale Motions pending with the Court:


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(i) the sale of certain eligible solar systems (the “Eligible Systems”) to Sunnova TEP Holdings,

LLC (“TEP Holdings”), the borrower under one of the Debtors’ warehouse facilities (the “TEPH

Facility”; and such sale, the “TEPH Sale”); and (ii) the sale of certain solar systems and related

contracts associated with the Debtors’ New Homes business (the “New Homes Solar Assets Sale,”

and together with the TEPH Sale, the “Asset Sales”). As discussed below, without access to the

proceeds from these transactions, the Debtors will face an immediate value-destructive

interruption to their businesses, including their ability to service the Solar Assets and Solar Loans

supporting the Debtors’ Asset-Backed Notes and Loan-Backed Notes, which would in turn

jeopardize the Debtors’ primary revenue stream; trigger events of default, acceleration and other

drastic remedies; and likely lead to the conversion of these cases within weeks of their filing.

                   The Asset Sales Are Reasonable and Provide the Debtors
                          With Cash Needed to Fund These Cases

       9.      As of the filing of this Declaration, the Debtors do not have a DIP Facility up for

this Court’s approval or even approved by their boards of directors at this time. Further, by itself,

the interim draw contemplated under the currently proposed potential DIP Facility would not

provide sufficient liquidity to fund the cash needs of these estates through to the second day hearing

without the additional cash proceeds contemplated by the Sale Motions. This is because the

Debtors were unable to find a lender (including the parties that may fund the DIP Facility) willing

to fund additional debtor-in-possession financing collateralized by certain unencumbered assets

within the Debtors’ estates. This is primarily due to the fact that the value of these assets can

practically (if at all) be realized only by certain parties who already have an interest in, or related

to, those assets. To be clear, the Debtors will require additional funding to make it beyond the

currently scheduled second day hearing in these cases—either in the form of a DIP or through

further sales of the Debtors’ remaining unencumbered collateral.



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       10.     Accordingly, in the weeks prior to the Petition Date, the Debtors pivoted from

seeking to collateralize these and other assets in connection with DIP financing to monetizing them

through an asset sale to the only parties for whom they hold any reasonably realizable value. As

set forth in my Prior Sale Declarations, the Debtors’ efforts were ultimately successful, and

through the Sale Motions, the Debtors seek approval of two sale transactions that will provide the

cash that the Debtors need to move these cases forward through the coming weeks.

       11.     The TEPH Sale. Through the TEPH Sale, the Debtors seek to sell the Eligible

Systems to TEP Holdings for $15 million in cash. The sale is the result of approximately five

weeks of negotiation between the Debtors (through the Special Committee of the Debtors’ board,

with the assistance of their advisors), TEP Holdings (through a special committee of TEP

Holdings’ board, consisting of disinterested directors), Atlas, in its capacities as administrative

agent and Class A Lender under the TEPH Facility, and the other Class A and Class B lenders

thereunder (together with Atlas in its capacity as Class A Lender, the “TEPH Lenders”).

       12.     The TEPH Sale provides numerous concrete benefits to the Debtors and their

estates, starting with the $15 million in cash that the Debtors will receive as a result of the

transaction—allowing the Debtors to recover the approximately $15 million they invested in these

Eligible Systems, which are in various degrees of completion, ranging from early-stage

construction to near-complete and still require approximately many multiples of this amount to

complete. In addition, the Eligible Systems are subject to leases and power purchase agreements

(“TPO Agreements”), which dictate customers’ payment obligations to Sunnova and are the sole

source of cash flows on account of the Eligible Systems, and customers’ payment obligations under

those TPO Agreements are generally triggered only upon completion of the applicable Eligible

System.




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       13.     Critically, the Eligible Systems have no marketable value to anyone other than TEP

Holdings and the TEPH Lenders. The TPO Agreements, and therefore the cash flows (if any)

from the Eligible Systems, are already held by TEP Holdings’ subsidiaries and serve as collateral

for the TEPH Lenders’ loans. In the ordinary course, the physical systems also would have been

transferred to TEP Holdings’ subsidiaries and become part of the TEPH Lenders’ collateral

package—without any additional consideration from TEP Holdings or the TEPH Lenders—and

the only reason that has not happened is due to the interruption in the flow of tax equity

contributions in the lead up to the filing of these cases.

       14.     I understand that certain Dealers have argued that they have various interests in the

Eligible Systems. However, the relief sought will not impair any rights or interests any Dealer

may hold, or any claims any Dealer may hold against the Estate, in connection with the Eligible

Systems. In any event, I understand that the Debtors have agreed to language to provide comfort

to dealers that approval of this sale in no way affects any dealers’ rights or claims against the estate

or any other party.

       15.     New Homes Solar Assets Sale. Through the New Homes Solar Assets Sale, the

Debtors seek to sell solar systems installed on new homes that are held by a homebuilder, Lennar

Corporation (“Lennar”), for which homes sales have not yet closed. In exchange, Lennar will pay

the Debtors approximately $16 million in cash (representing a small discount to the cash retail

price paid by the home buyers) and fund the costs of completing the remaining items necessary to

place the systems online.

       16.     As stated in my earlier declaration, Lennar is the natural purchaser for these assets,

since Lennar will face difficulty closing sales on homes without the ability to include in the sale

the solar systems that are installed on the roofs of those homes. Further, absent this sale, the




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Debtors would in the ordinary course sell these same solar systems on an individual basis to new

homeowners as they purchased homes in Lennar’s developments. By selling these solar systems

in bulk to Lennar the Debtors have found a way to increase its upfront liquidity by collapsing

hundreds of transactions into one, reducing the Debtors’ administrative burden. In addition, the

homeowners will benefit from this transaction, which will streamline their closing process.

       17.     As a result, by selling them to Lennar, the Debtors are maximizing the value of

assets whose only natural purchaser is Lennar or homeowners on an individual basis.

                           The Debtors Will Suffer Immediate and
                    Irreparable Harm if the Asset Sales Are Not Approved

       18.     Immediate approval of the Asset Sales is critical for the Debtors and their

stakeholders—and the Debtors will suffer irreparable harm absent such approval—for at least two

reasons.

       19.     First, the Debtors have a very critical need for the cash without any alternative

source for the cash other than the Asset Sales. The Debtors will face significant disruption to their

businesses and the administration of these estates, or else have zero balances in their bank accounts

within days, if the Asset Sales are not approved.

       20.     Second, the Asset Sales offer the Debtors the highest and best price they can hope

to receive for these unique assets. The Eligible Systems have no associated cash flows that are not

already owned by TEP Holdings and/or its subsidiaries, and thus have little to no value to anyone

other than TEP Holdings, its subsidiaries, and the TEPH Lenders. Similarly, as the homebuilder

that owns the unsold new homes on which the New Homes Solar Assets sit, Lennar naturally has

the keenest interest in, and will pay the highest value for, those assets. However, while the Debtors

have no expectation of receiving a higher price for these assets, there is a risk that the Debtors will

realize less value and incur more costs if the Assets Sales are not approved immediately.



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For example, I have been informed by Atlas that the Warehouse Asset Sale must be approved as a

condition to the broader transaction and settlement that will provide, among other things, a

framework for Atlas to negotiate with the dealers.

                                           Conclusion

       21.     Given the details described above and based on my experience as a restructuring

professional and involvement in other sales transactions, I believe that the Asset Sales are each

value-maximizing transactions and reasonable exercises of the Debtors’ business judgment.

Moreover, I believe that each of these transactions is vital to the Estates’ ability to remain in

chapter 11, and that, if these transactions are not approved, the Debtors will suffer immediate and

irreparable harm. Accordingly, I respectfully submit that the Court should approve the Court

should approve the DIP Facility and each of the Asset Sales on the terms and conditions set forth

in the documents governing those transactions.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


 Dated: June 11, 2025                            /s/ Ryan Omohundro
                                                 Ryan Omohundro
                                                 Managing Director
                                                 Alvarez & Marsal North America LLC
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                            Exhibit A

                            Forecast
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Sunnova Energy International Inc. 25-90160
The Forecast
($ thousands)

                                                      Forecast Inclusive of Sale Proceeds                               Forecast Excluding Sale Proceeds
                            Fcst vs Act -->        Fcst            Fcst             Fcst                            Fcst             Fcst             Fcst
                          Week Number -->          Wk-1            Wk-2             Wk-3                            Wk-1             Wk-2             Wk-3
                          Week Ending -->         13-Jun          20-Jun           27-Jun           Total          13-Jun           20-Jun           27-Jun           Total

      MSA Fees                                $         -     $     1,982      $         -      $     1,982    $         -      $     1,982      $         -      $     1,982
      3rd Party SRECs / PPAs                          393           4,028                -            4,421            393            4,028                -            4,421
      SEC SREC Proceeds                                 -               -                -                -              -                -                -                -
      New Home Sales                                  300             300                -              600            300              300                -              600
      Residuals                                         -             210                -              210              -              210                -              210
      Other Receipts                                   96              96               96              288             96               96               96              288
     Operating Receipts                               790           6,617               96            7,502            790            6,617               96            7,502
     Asset Sales                                        -             750                -              750              -              750                -              750
   Total Receipts                                     790           7,367               96            8,252            790            7,367               96            8,252
     Non-Dealer Trade                               (8,828)         (5,275)          (6,038)        (20,140)         (8,828)          (5,275)          (6,038)        (20,140)
     Payroll & Benefits                                (75)         (6,065)             (70)         (6,210)            (75)          (6,065)             (70)         (6,210)
     Insurance / Sureties                           (1,937)            (10)            (809)         (2,756)         (1,937)             (10)            (809)         (2,756)
     SREC / PPA Remittance to Waterfall                  -               -          (14,612)        (14,612)              -                -          (14,612)        (14,612)
     Other                                          (1,115)           (150)            (150)         (1,415)         (1,115)            (150)            (150)         (1,415)
   Total Operating Disbursements                   (11,954)        (11,500)         (21,679)        (45,133)        (11,954)         (11,500)         (21,679)        (45,133)

   Operating Cash Flow                        $    (11,165) $       (4,133) $ (21,583)          $ (36,881)     $    (11,165) $        (4,133) $ (21,583)          $ (36,881)
    Debtor Professionals                                 -               -          -                   -                 -                -          -                   -
    Other Creditor / UCC Professionals                   -               -          -                   -                 -                -          -                   -
    Other Case Costs                                   (14)              -          -                 (14)              (14)               -          -                 (14)
   Total Process Costs                                 (14)                -                -           (14)            (14)                 -                -           (14)
     New Homes Solar Assets Sale                         -         15,500                   -        15,500                 -                -                -               -
     TEPH Sale                                      15,000              -                   -        15,000                 -                -                -               -
   Total Financing                                  15,000         15,500                   -        30,500                 -                -                -               -

   Beginning Unencumbered Book Cash*          $     11,584    $    15,405      $    26,772      $    11,584    $     11,584     $       405      $     (3,728)    $    11,584
   Net Cash Flow                              $      3,821    $    11,367      $ (21,583)       $    (6,395)   $    (11,179) $        (4,133) $ (21,583)          $ (36,895)
   Ending Unencumbered Book Cash              $     15,405    $    26,772      $     5,189      $     5,189    $       405      $     (3,728) $ (25,311)          $ (25,311)
   * Excludes approximately $8.5MM received from the DOE in relation to the PR-ERF program
